      Case 2:06-cr-00390-WBS Document 142 Filed 05/13/09 Page 1 of 2


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 5
     Attorney for Defendant
 6   ZHI XUE
 7
 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            Criminal No. 2:06-cr-0390 EJG
12                 Plaintiff,
                                                          STIPULATION AND ORDER TO
13          v.                                            VACATE AND RESET COURT
                                                          APPEARANCE
14   ZHI XUE,
15              Defendant.
     _____________________________/
16
17          IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   Heiko Coppola, counsel for plaintiff, and Douglas Horngrad, counsel for Zhi Xue, that, with
19   regard to defendant Zhi Xue only, Mr. Xue’s May 15, 2009, court appearance be vacated and
20   reset for August 14, 2009, at 10:00 a.m., or as soon thereafter as is convenient for the Court.
21   The stipulated reset is requested because counsel have a few remaining details to resolve
22   before sentencing. Additionally, counsel for Mr. Xue is currently in a jury trial in the
23   Sonoma County Superior Court in the matter of People v. Bryant, which is scheduled to be
24   in session all day on May 15, 2009.
25          Counsel for defendant contacted United States Probation Officer Linda Dillon and she
26   confirmed that she is available for the requested new court appearance. Counsel for
27   defendant has contacted Court Interpreter Coordinator Yolanda Riley Portal and she
28   //
      Case 2:06-cr-00390-WBS Document 142 Filed 05/13/09 Page 2 of 2


 1   confirmed that a Cantonese interpreter is available for the requested new date and time.
 2
 3   Dated: May 12, 2009                              /s/ Douglas Horngrad
                                                      DOUGLAS HORNGRAD
 4                                                    Attorney for Defendant
                                                      ZHI XUE
 5
 6
     Dated: May 12, 2009                              /s/ Heiko Coppola
 7                                                    HEIKO COPPOLA
                                                      Counsel for Plaintiff
 8
 9
10            IT IS SO ORDERED
11
12
13
     Dated:    May 12, 2009                   /s/ Edward J. Garcia
14                                            HON. EDWARD J. GARCIA
                                              Senior United States District Court Judge
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